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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Protect Our Parks Inc, et al.
                                    Plaintiff,
v.                                                     Case No.: 1:21−cv−02006
                                                       Honorable John Robert Blakey
Pete Buttigieg, et al.
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 5, 2021:


         MINUTE entry before the Honorable John Robert Blakey: After considering the
parties' briefs and oral argument, this Court finds that Plaintiffs have not met the standard
for injunctive relief on their federal claims, and accordingly denies their motion for
preliminary injunction [30]. This Court will issue a more detailed opinion and set
additional dates and deadlines by separate order. Defendants' motion to dismiss [28]
remains under advisement. Mailed notice(gel, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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